                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 KAYLA DIONNE LEWIS, et al.,

 Plaintiffs,
                                                        Civil Action No: 15-352 (RBW)
     v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, et al.

 Defendants.


     UNOPPOSED PLAINTIFFS’ MOTION FOR extension of time to file certain exhibits

          Plaintiffs hereby respectfully move this Court for an extension of time until close of

business Monday (2/1/2020) to file certain exhibits described below.

Consent sought but not obtained.

          Plaintiffs’ counsel sought defendant’s consent to the relief requested herein pursuant to

LCvR 7(m) by email, the usual form of communication, at 1:30 Friday afternoon (1/31/2020), but

defendants did not respond.

          Plaintiffs received by email dated 1/30/2020 time-stamped 7:41 p.m. DC time some policy

statements from the District of Columbia in response to Plaintiffs’ document production requests.

Plaintiffs need additional time to review them before submitting them as exhibits.

          Moreover, Attorney Michael Bruckheim needs an additional business day to finalize his

attorney affidavit because of a heavy trial schedule.

          Rule 6(b) authorizes, for good cause shown, extensions of time prior to expiration of any

time period. Pineda v. Am. Plastics Techs., Inc., 2014 U.S. Dist. LEXIS 67241, *23-24 (S.D. Fla.

May 15, 2014). Courts routinely grant such motions in the absence of prejudice to the opposing

party, Id., especially where the party in seeking extension has been diligent. Barnes v. D.C., 289


                                                  Page 1
F.R.D. 1, 7 (D.D.C. 2012). District courts have broad discretion whether to grant or deny

continuances filed before the deadline. D.A. v. District of Columbia, 2007 U.S. Dist. LEXIS

90640, *14-15 (D.D.C. Dec. 6, 2007).

       The motion is supported by good cause because plaintiff has “a valid reason for delay[,]”

Mann v. Castiel, 681 F.3d 368, 375 (D.C. Cir. 2012).

Respectfully submitted,

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                                              Page 2
